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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  NORFOLK DIVISION


 The Coleman Company, Inc.,                )
                                           )
        Plaintiff/Counterclaim Defendant, )
                                           )
 v.                                        ) Civil Action No: 2:20cv351-RGD-RJK
                                           )
 Team Worldwide Corporation, et al.,       )
                                           )
        Defendant/Counterclaim Plaintiffs. )
 ____________________________________ )

         DEFENDANT/COUNTERCLAIM PLAINTIFFS TEAM WORLDWIDE
        CORPORATION AND CHENG-CHUNG WANG’S MOTION TO COMPEL


        Pursuant to Rule 37(a) of the Federal Rules of Civil Procedure and Local Rule 37(A),

 Defendant Team Worldwide Corporation and Counterclaim Plaintiff Cheng-Chung Wang

 (collectively “Defendants” or “TWW”), by and through its undersigned counsel, hereby move to

 compel discovery from plaintiff The Coleman Company, Inc. (“Plaintiff” or “Coleman”).

 Specifically, TWW asks the Court to order Coleman to complete its production of documents

 responsive to each of TWW’s first set of Requests for Production, Nos. 1-97, and TWW’s

 Interrogatory Nos. 2, 3, 5, 7, and 14 within ten days of the date of the order.

       Further support for this Motion is detailed in the Memorandum in Support, filed this same

 day. A proposed Order granting this relief is attached hereto.

  Dated: May 14, 2021
                                                     By: /s/__________
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                                                     David Sullivan (VSB No. 45027)
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                                          Cheng-Chung Wang




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                                CERTIFICATE OF SERVICE
 I hereby certify that on May 14, 2021, a copy of the foregoing was electronically filed with the

 Clerk of Court using the CM/ECF system, which will send notification of such filing to all

 registered users.


 Dated: May 14, 2021


                                                    /s/William R. Poynter
                                                    William R. Poynter (VSB No. 48672)


                                                    Attorney for Defendant Team Worldwide
                                                    Corporation and Counterclaim Plaintiff
                                                    Cheng-Chung Wang




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